                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
      Christer Standerwick &,
      Crystal Preston-Standerwick                                  CASE NO.:      17-57688
                                                                   CHAPTER:       13
            DEBTORS.                                               JUDGE:         Thomas J. Tucker
_________________________________/

                  ORDER GRANTING OBJECTION TO PROOF OF CLAIM
               OF WILMINGTON SAVINGS FUND SOCIETY, FSB, CLAIM #23

        This matter having come on for hearing before the Court by way of the objection of the debtor to
the allowance of the claim of the above referenced creditor, service having been made with a notice of
hearing allowing a thirty (30) day notice pursuant to Bankruptcy Rule 3007, a hearing having been held,
the court having heard the matter in open court and for the reasons stated on the record:
       NOW THEREFORE, IT IS HEREBY ORDERED:
       The objection to the Proof of Claim filed by the above-referenced creditor is hereby granted

       IT IS FURTHER ORDERED as follows:
       1. The Debtor is current with her payments to Wilmington Savings Fund Society, FSB. The Trustee
shall make no disbursements on the arrearage portion of the proof of claim.




Signed on September 07, 2018




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